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                           UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF IDAHO


THOMAS CAMPBELL,

       Plaintiff,                                       COMPLAINT AND DEMAND
                                                           FOR JURY TRIAL
v.

UNION PACIFIC RAILROAD CO.,                               Case No. _______________

       Defendant.


       Plaintiff Thomas Campbell (hereinafter “Campbell”) by and through his attorneys, brings

this action for damages and other legal and equitable relief, stating the following as his claims

against Defendant Union Pacific Railroad Co. (hereinafter “Defendant” or “Union Pacific”):




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                                    NATURE OF ACTION

       1.      This case arises under the Americans with Disabilities Act, 42 U.S.C. § 12101 et

seq., as amended (“ADA”).

                                             PARTIES

       2.      Campbell is an individual who, during the events giving his to his claims herein,

resided in Blackfoot, Bingham County, Idaho.

       3.      Defendant is a railroad carrier engaged in commerce in Idaho. Defendant’s

headquarters is in Omaha, Nebraska.

       4.      Defendant employs approximately 42,000 persons and runs upwards of 8,000

trains on 30,000 miles of track all across the country west of Chicago and New Orleans.

       5.      Defendant employs approximately 818 persons in Idaho.

                                JURISDICTION AND VENUE

       6.      Campbell’s claims arise under the ADA. This Court has subject-matter

jurisdiction pursuant to 28 U.S.C. § 1331.

       7.      This Court has personal jurisdiction over Defendant because Defendant maintains

a significant business presence within the State of Idaho, and because the acts giving rise to

Campbell’s claim occurred in Idaho.

       8.      Venue is proper in this district pursuant to 28 U.S.C. § 1391 because the Court

has personal jurisdiction over Defendant, and because a substantial part of the events or

omissions giving rise to Campbell’s claims occurred in this district.

                                 FACTUAL ALLEGATIONS

       9.      On October 30, 1994, when Campbell was the age of 16, he sustained a leg injury

during a hunting accident, requiring amputation of his right leg six inches below the knee.



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        10.     Campbell has used a prosthesis since the hunting accident.

        11.     Campbell’s leg amputation qualifies as a disability under the ADA.

        12.     In January 2017, Campbell applied for a Trainman position with Defendant.

        13.     Defendant’s online job application for the Trainman position asked, inter alia,

“Do you have a disability?”

        14.     In response to the application’s disability question, Campbell responded in the

affirmative: “Yes.” Campbell disclosed to Defendant his amputation and his use of a prosthesis

during the application process.

        15.     On February 23, 2017, following submission of the online job application,

Campbell interviewed for the Trainman position in Pocatello, Idaho.

        16.     On March 1, 2017, Campbell accepted Defendant’s conditional offer of

employment for a Trainman position, subject to passing a background check, a drug test, a

physical ability test (“PAT”), and a medical examination

        17.     On March 2, 2017, Campbell passed the background check and drug test.

        18.     On March 7, 2017, Campbell passed the PAT, which involved lifting objects,

moving objects, bending, twisting, hanging, and general movement to demonstrate the ability to

fulfill the physical responsibilities of the Trainman position. Also on March 7, Campbell passed

the medical examination, satisfying all conditions of the conditional employment offer.

        19.     April 3, 2017 was Campbell’s start date of employment for the Trainman

position.

        20.     Campbell’s first four weeks as a Trainman consisted of training in the classroom

as well as field training.




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       21.     On May 3, 2017, during on-the-job training, Campbell and a co-worker were

required to perform a Field Training Exercise (“FTX”).

       22.     During the FTX, Campbell and the co-worker were observed by Defendant’s

managers, Sean Leatherbury and Tony Alcover, performing basic job duties, including riding on

a train car, crossing tracks, operating switches, and walking on uneven terrain.

       23.     Once the managers were done observing, they approached Campbell and his co-

worker to debrief them on their performance. As noted in documentation of the FTX, Campbell

passed each of the tasks he was tested on.

       24.     After the debriefing, Leatherbury asked to talk with Campbell privately in his

vehicle.

       25.     Leatherbury asked Campbell if he had any issues with his leg. Campbell lifted his

pant leg and showed Leatherbury his prosthesis, to Leatherbury’s apparent surprise.

       26.     Leatherbury drove Campbell back to the station, instructed Campbell to clock out,

and told Campbell that he would not be able to return to work until Defendant’s medical

department had reviewed his case.

       27.     Campbell provided to Defendant letters from Idaho Prosthetics & Orthotics,

which provided background information on Campbell’s prosthetic leg and which stated

Campbell had no restrictions in employment related to his prosthetic leg.

       28.     Campbell also offered to travel at his own cost to Defendant’s headquarters in

Omaha, Nebraska to conduct further testing.

       29.     Campbell did not receive pay during the six week period Defendant’s medical

department was conducting its “fitness for duty” review of Campbell’s case.




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       30.     In mid-June, 2017, Defendant completed its “fitness for duty” review.

Defendant’s Chief Medical Officer, Dr. John Holland, determined that because Campbell uses a

prosthesis, he was permanently restricted from working as a Trainman (among other things), and

could not return to his job.

       31.     On June 20, 2017, Terry Owens, Defendant’s Director of Disability Management,

sent Campbell a letter, enclosing a document titled “What are my options now that I am unable

to return to my railroad job?”

       32.     In a telephone conversation, Dr. Holland told Campbell that even though

Campbell was able to perform the job, he was at a “higher risk.”

       33.     Unable to return to his Trainman job, Campbell applied for various open positions

within Defendant, and was eventually offered a position as a Carman/Toolman in Elko, Nevada.

       34.     Elko is approximately five hours away from Campbell’s home and family in

Blackfoot, Idaho.

       35.     The compensation for the Carman/Toolman position is less than Campbell was

earning as a Trainman.

       36.     Nevertheless, Campbell accepted the lower-paying Carman job. He now lives in

Elko, Nevada, away from his wife and daughters, returning home only during his days off.

       37.     On or about July 17, 2017, Campbell filed a Charge of Discrimination with the

Equal Employment and Opportunity Commission (“EEOC”), alleging Defendant discriminated

against him in violation of the ADA.

       38.     On or about August 29, 2018, the EEOC issued a Notice of Right to Sue. Having

exhausted his administrative remedies, Campbell now brings the present action.




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                                  FIRST CAUSE OF ACTION

               VIOLATIONS OF THE ADA: DISABILITY DISCRIMINATION

       39.      Section 12112(a) of the ADA prohibits employers from discriminating against a

qualified individual on the basis of disability in regard to job application procedures, the hiring,

advancement, or discharge of employees, employee compensation, job training, and other terms,

conditions, and privileges of employment.

       40.      The ADA defines a disability as (A) a physical or mental impairment that impairs

one or more major life activities; (B) a record of such impairment; or (C) being regarded as

having such an impairment. 42 U.S.C. § 12102(1).

       41.      At all relevant times, Campbell was an individual with a disability under the

ADA.

       42.      At all relevant times, Campbell had the requisite skill, experience, education and

other job-related requirements for the position, and was therefore a qualified individual under the

ADA.

       43.      At all relevant times, Campbell could perform the essential functions of his

position with or without accommodation. Moreover, Campbell passed all physical and medical

examinations required by Defendant to ascertain whether an employee could perform those

functions.

       44.      Defendant removed Campbell from his Brakeman position on the basis of his

disability, violating 42 U.S.C. § 12112.

       45.      Because Defendant violated 42 U.S.C. § 12112, Campbell has suffered and will

continue to suffer loss of income, emotional distress, and other damages in an amount in excess




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of $75,000. Campbell is also entitled to attorneys’ fees and costs incurred in connection with this

claim.

         46.    Defendant committed the above-alleged acts with reckless or deliberate disregard

for the rights of Campbell. As a result, Campbell is entitled to punitive damages.

                                 SECOND CAUSE OF ACTION

               VIOLATIONS OF THE ADA: FAILURE TO ACCOMMODATE

         47.    At all relevant times, Campbell was an individual with a disability under the

ADA.

         48.    Campbell informed Defendant of his disability.

         49.    Defendant failed to engage with Campbell in the interactive process.

         50.    Discriminating against a qualified individual with a disability includes:

         [N]ot making reasonable accommodations to the known physical or mental limitations of
         an otherwise qualified individual with a disability who is an applicant or employee,
         unless such covered entity can demonstrate that the accommodation would impose an
         undue hardship on the operation of the business of such covered entity[.]
42 U.S.C. § 122112(b)(5)(A).

         51.    Defendant failed to make reasonable accommodation to Campbell’s disability, in

violation of the ADA.

         52.    Because Defendant violated the ADA, Campbell has suffered and will continue to

suffer loss of income, emotional distress, and other damages in an amount in excess of $75,000.

Campbell is also entitled to attorneys’ fees and costs incurred in connection with these claims.

         53.    Defendant committed the above-alleged acts with reckless disregard or deliberate

 disregard for the rights and safety of Campbell. As a result, he is entitled to punitive damages.




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                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff Thomas Campbell prays for judgment against Defendant Union

Pacific as follows:

       1.      That the practices of Defendant complained of herein be determined and adjudged

to constitute violations of the ADA;

       2.      That Defendant and its directors, officers, owners, agents, successors, employees

and representatives, and any and all persons acting in concert with them, be enjoined from

engaging in each of the unlawful practices, policies, customs, and usages set forth herein;

       3.      For an award of damages arising from loss of past and future income, emotional

distress, and other compensatory damages, all in an amount in excess of $75,000;

       4.      For an award of pre-judgment interest pursuant to law;

       5.      For an award of Campbell’s costs, disbursements and attorneys’ fees pursuant to

law;

       6.      For all relief available under the ADA;

       7.      For such other and further relief available by statute;

       8.      For such other and further relief as the Court deems just and equitable.

       DATED this 20th of November, 2018

                                              NICHOLS KASTER, PLLP

                                              __/S/ David E. Schlesinger______________
                                              David E. Schlesinger*
                                              Charles A. Delbridge*
                                              *pro hac vice application forthcoming

                                              STRINDBERG & SCHOLNICK, LLC

                                              __/s/ T. Guy Hallam Jr._________________
                                              Erika Birch
                                              T. Guy Hallam, Jr.

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